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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of Columbia

                  United States of America                         )
                               V.                                  )
                                                                   )      Case No.
                JOSHUA DILLON HAYNES                               )
                   DOB:-                                           )
                                                                   )
                           Defendant(s)


                                                     CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021             in the county of __________ in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. §§ 1752(a)(1) , (2) and (4)           (Unlawful entry on restricted grounds, disorderly and disruptive conduct, Act
18 U.S.C. §§ 1512 (c)(2) and 2                  of Physical Violence on Grounds); (obstruction of an official proceeding);
18 U.S.C. § 1363                                (Destruction of property in special maritime and territorial jurisdiction);
40 U.S.C. § 5104(e)(2)(D)                       (Violent entry or disorderly conduct);
40 U.S.C. § 5104(e)(2)(F)                       (Act of physical violence on grounds);
40 U.S.C. § 5104(e)(2)(G)                       (Parade, demonstrate, or picket in any of the Capitol Buildings)




         This criminal complaint is based on these facts:
See attached affidavit.




         D Continued on the attached sheet.




                                                                                     Cameron Mizelll, FBI Special Agent
                                                                                              Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.


Date:             06/22/2021
                                                                                                Judge's signature

City and state:                         Washington, D.C.                       Robin M. Meriweather, U.S. Magistrate Judge
                                                                                              Printed name and title
